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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )                  4:08CR3178-3
                                               )
              V.                               )
                                               )                 MEMORANDUM
LATRAIL L. TAYLOR,                             )                  AND ORDER
                                               )
                       Defendant.              )
                                               )


       For the purpose of interim fees, the Federal Public Defender advises that the
regulations now permit only a 20 percent withholding rather than a withholding of one-third.
Therefore,


       IT IS ORDERED that the Memorandum and Order filed December 14, 2010 (filing
no. 178) is modified to provide that the withholding called for in paragraph one of the order
shall be 20 percent.

       Dated this 6 th day of January, 2011.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge

Approved:

s/William J. Riley
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William J. Riley
Chief Judge
United States Court of Appeals for the Eighth Circuit
